Case 2:21-cv-20292-WJM-CLW Document 1 Filed 12/01/21 Page 1 of 3 PagelD: 1

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
KEICHA BYRD, Civil Action No.:
Plaintiff,
Vv. NOTICE OF REMOVAL

KYLE L. RAIKES, and THE FELIX GROUP
d/b/a KWIW DISTRIBUTORS, LLC, JOHN
DOES 1-10 (said names being fictitious) and
XYZ CORPORATIONS 1-10 (said names
being fictitious),

Defendants.

 

Petitioners, KYLE L. RAIKES and THE FELIX GROUP d/b/a KWJW DISTRIBUTORS,
LLC, referred herein as Defendants in the above-entitled action, by their attorneys, TRAUB
LIEBERMAN STRAUS & SHREWSBERRY LLP, respectfully show this Court:

I, The Petitioners are named Defendants in the instant action.

2. This action was commenced by the filing of a Complaint in the Middlesex County
Superior Court of New Jersey, Law Division, on August 16, 2021. See Exhibit A.

3. Respondent/Plaintiff in the above-captioned matter claims to have sustained
permanent personal injuries as the result of a motor vehicle accident with Petitioners that occurred
on or about February 17, 2021. See Exhibit A.

4. The Summons and Complaint were served on Petitioner, Kyle L. Raikes, on
September 3, 2021. See Exhibit B.

5: Petitioner, Kyle L. Raikes, is a resident of Baltimore, Maryland, residing at 1754

Homestead Street, Baltimore, Maryland, 21218.
Case 2:21-cv-20292-WJM-CLW Document 1 Filed 12/01/21 Page 2 of 3 PagelD: 2

6. The Summons and Complaint have not yet been served on Petitioner, The Felix
Group d/b/a KWIW Distributors, LLC, however, The Felix Group d/b/a KWJW Distributors, LLC
consents to the within Notice of Removal.

7. The Felix Group, LLC is incorporated in the State of Maryland and its principal
place of business is located at 6100 Westchester Park Drive, Unit 1119, College Park, Maryland,
20740.

8. Keith Felix and Rayshawn Felix are the Registered Agents of The Felix Group,
LLC, and both Keith Felix and Rayshawn Felix reside at 9739 Goodluck Road, Apartment 12,
Lanham, Maryland, 20706.

9. Respondent/Plaintiff is domiciled in Plainfield, New Jersey.

10. There are presently no ascertainable parties to this action who are believed to reside
in New Jersey other than Respondent/Plaintiff.

11. An Answer to Respondent/Plaintiff's Complaint was filed on behalf of Petitioner,
Kyle L. Raikes, on October 8, 2021. See Exhibit C.

12. On October 7, 2021, Petitioners served Respondent/Plaintiff with a Request for
Statement of Damages. See Exhibit D.

13. On October 21, 2021, Petitioners served Respondent/Plaintiff with a Second
Request for Statement of Damages. See Exhibit E.

14. On October 27, 2021, Petitioners filed a Motion to Compel Respondent/Plaintiff s
response to Petitioner’s Request for Statement of Damages. See Exhibit F.

15.  Inresponse to Petitioner’s motion, Respondent/Plaintiff served Petitioners with her
Response to Petitioners’ Request for Statement of Damages on November 3, 2021, indicating

Respondent/Plaintiff demands $1,000,000. See Exhibit G.
Case 2:21-cv-20292-WJM-CLW Document 1 Filed 12/01/21 Page 3 of 3 PagelD: 3

16. As such, the amount in controversy claimed by Respondent/Plaintiff in this matter
exceeds $75,000.00, exclusive of interest and costs. See 28 U.S.C. § 1332(a) and § 1446(b).

17. Accordingly, this Court has original jurisdiction of the instant civil action pursuant
to 28 U.S.C. § 1332 because the parties are completely diverse and the amount in controversy
exceeds $75,000.00. This matter is therefore ripe for removal.

18. Removal is timely as Petitioners did not obtain Respondent/Plaintiff’s response to
their Request for Statement of Damages until November 3, 2021, and Petitioners filed the instant
Notice of Removal within the requisite thirty (30) day time limitation.

WHEREFORE, Petitioners pray that the instant action now pending before the Superior
Court of New Jersey, Middlesex County, Law Division, be removed therefrom to the United States

District Court for the District of New Jersey, and for such other and further relief as this Court

deems just and proper.

Dated: December 1, 2021

TRAUB LIEBERMAN STRAUS & SHREWSBERRY LLP

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Gregory S. Pennington, Esq.

Attorney for Petitioners: Kyle L. Raikes and The Felix
Group d/b/a KWJW Distributors, LLC

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